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                                    LAW 0FFIC:Es OF

RobcrtJ. DeGroor          ROBERT j. DeGROOT                              0kg Nekritin
NJ Bar #282351912                   Attorneys At Law                     NJ Ba #01 8752009
NY Bar #2921633                                                          NY Bar #4855789
                                                        January 29,   2020

   Hon. John Michael Vazquez, U.S.D.C.J.
   United States District Court
   50 Walnut St.
   Newark, N.J. 07101

          Re:  United States vs. Melissa Reynolds,        et.   al.
          Crim Case No.:  2:18—cr---00379

   Dear Judge \‘azquez:

         This firm represents the Defendant, Ms. Reynolds in the above
   captioned matter. Ms. Reynolds’s co—Defendant recently filed a motion
   to stagger the prison terms for each defendant. The Court denied that
   motion but directed the SOP to assign Ms. Reynolds’s surrender date to
   no early than July 2020.

         Prior to the Court’s decision, my client requested that I submit
   a response to Mr. King’s motion to request that. if the court denied
   the request to stagger the sentences, that would not want her turn in
   date to be pushed back to July.   I apologize to the court for my late
   submission and this subsequent request t vacate that portion of the
   order pushing back Ms. Reynolds’s turn in date.

         Ms. Herman has graciously consented to this request to vacate
   that part of the order. I have drafted a so—ordered clause on the
   bottom of this letter. If the Court so requests, I can file a formal
   motion for this request.

          I thank the Court for its consideration of this request.


                                                 Respectfully submitted,


                                                  RoberCJTe Groot,       Esq.

   cc:   Lakshmi Herman, A.U.S.A.
                                  29th         January
         IT IS SO ORDERED ON THIS       DAY OF          2020, that the
   Court’s previous Order of January 27, 2020, is hereby amended to
   vacate the Court’s directive for the SOP to designate Ms. Reynolds’s
   sentence to not commence before July 1, 2020.   The SOP shall designate
   the start of Ms. Reynolds’s sentence pursuant to its regular practice.


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                                         Hon\ John Michael Vaoe*J
                                                                 ‘U7.
                                                                        :  U.S.D.C.J.


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